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EXHIBITS Al — A3

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STATE OF CONNECTICUT

DEPARTMENT OF EDUCATION

Dear High School Graduate:

Congratulations! You have passed the GEDe Tests and qualified to receive the enclosed Connecticut
State High School Diploma’. Please save this diploma carefully because duplicates are not issued.
Whatever your reason for taking the GED Tests, you now have the opportunity to pursue your next goal,
whether it is college, technical training, a better job or the military. The diploma earned by passing the
GED Tests is accepted by over 95 percent of companies, colleges and universities. Many resources are
available to assist you in taking the next step of your new journey.

Further Education and Training - College is Possible
In a speech to Congress’, President Obama said:

“I ask every American to commit to at least one year or more of higher education or career
training. This can be community college or a four-year school, vocational training or an
apprenticeship. But whatever the training may be, every American will need to get more than a
high school diploma.”

1 reaffirm his message and urge you to visit http://www.ctdhe.org/sp.htm for information about
postsecondary education/training programs and financial aid resources in Connecticut. You may also
access http://www.CollegelsPossible.org for national information.

Services to Job Seekers

At Connecticut’s Job Bank (visit http://www .jobcentral.org/ct/), you can search a comprehensive listing
of jobs in a wide variety of industries and post your resume online to make it available to leading U.S.
employers. You may also contact the U.S. Department of Labor at http://www.doleta.gov/jobseekers/ or
call 1-877-US-2JOBS.

Transcript Information

Your scores are listed on the transcript that accompanies this letter. Your standard scores are used to
determine the passing score. The percentile scores indicate your national ranking among other students
who have taken the GED Tests. If you need an official transcript for employment or post-secondary
education, please call the Connecticut GED Office at 860-807-2110 for information on how to request a
transcript (or) complete and submit the transcript request form that can be downloaded at
http://Awww.ct.gov/sde (search for “GED transcript”).

I wish you the very best in your future.
Sincerely,

Ajit Gopalakrishnan, GED Administrator
Connecticut State Department of Education

Enclosures: (2)

' Pledse note that Connecticut General Statute, Section 10-5, does not allow a State High School Diptoma to be issued until the
individual turns 17 years of age.

Source: http://www.white 2 lndustria Lem’ B iQhemd did 6tonmin Garnsieotians -to-joint-session-of-congress/
An Equal Opportunity Employer

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STATE OF CONNECTICUT

DEPARTMENT OF EDUCATION
GENERAL EDUCATIONAL DEVELOPMENT

OFFICIAL TRANSCRIPT OF GED TEST RESULTS

This certifies that the following High School Level Examination results were achieved by:

Sheena J. Dume IDNumber; DuSh10003
78 Oak Ridge Road Date of Birth: 10/16/1992
Greenwich, Ct 06830

Standard | Percentile
TEST TYPE SUBJECT Score Rank
TESTS OF GENERAL EDUCATIONAL Language Arts - Writing 540 66
- *

DEVELOPMENT GED® - ENGLISH Science 450 3]
A nationally standardized test used in Social Studies 460 34
Connecticut since March, 1967. A passing ~ Language Arts - Reading 430 4
score is 2250 (450 average) with no one test

subject score below 410. Mathematics . 410 18

Standard Score Total: 2290
Standard Score Average: 458

* PREPARED BY THE GED® TESTING SERVICE OF THE AMERICAN COUNCIL ON EDUCATION

BASED ON THE ABOVE TEST SCORES, CONNECTICUT STATE
HIGH SCHOOL DIPLOMA NUMBER 270455 WAS ISSUED ON
7/25/2012 TO THE ABOVE NAMED INDIVIDUAL.

GED ADMINISTRATOR, CT STATE DEPARTMENT OF EDUCATION

iy Ypabaksishoo July 25, 2012

Ajit Gopalakrishnan a . . Date

GEDTROUDS)
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State of Connecticut

This Certifies That

Sheena J. Dume

has satisfied all requirements pursuant to Connecticut General Statutes 10 - 5, as
amended, and is therefore awarded this diploma in compliance with the rules and

regulations of the State Board of Education.

High School Diploma

No. 270485 Date July 25, 2012 Since BOCK tow

Secretary, State Board of Education

